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   8                           UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
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  11    TOMMY LEE WILEY, III,                      Case No. CV 19-1837 MWF (PVC)
  12                       Plaintiff,
  13           v.                                              JUDGMENT
  14    CORRECTIONAL OFFICER ROSALES,
        et al.,
  15
                           Defendants.
  16
  17         Pursuant to the Court’s Order Accepting Findings, Conclusions and

  18   Recommendations of United States Magistrate Judge,

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  20         IT IS HEREBY ADJUDGED that the above-captioned action is dismissed with

  21   prejudice.

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  23   Dated: April 27, 2021

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                                                   MICHAEL W. FITZGERALD
  25                                               UNITED STATES DISTRICT JUDGE
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